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                                   UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEW JERSEY

                                     MINUTES OF PROCEEDINGS


NEWARK                                                  DATE: March 7, 2025

JUDGE: Susan D. Wigenton

COURT REPORTER: Joanne Sekella

DEPUTY CLERK: Carmen D. Soto

TITLE OF CASE:                                                 Crim. No. 18-655

U.S.A. v. FRED DAIBES

APPEARANCES:
Elaine Lou, AUSA for the Govt
Lawrence S. Lustberg, Esq. for Deft (Retained)
Anne M. Collart, Esq. for Deft (Retained)
Shannan DaSilva, Probation Officer

NATURE OF PROCEEDING: SENTENCING

Defendant present.
Defendant sentenced to 37 months imprisonment. This term of imprisonment will run concurrently with the
term of imprisonment of the Judgment in Docket Number 1:23-CR-00490-5, in the Southern District of New
York.
2 years supervised release.
Fine: $300,000 - due immediately.
Special Assessment: $100.00 – due immediately.

Special Conditions:
   1) Motor Vehicle Compliance
   2) Self-Employment/Business Disclosure
   3) Financial Disclosure

Government moved to dismiss Counts 1 thru 6 and 8 thru 14.
Ordered Counts 1 thru 6 and 8 thru 14 dismissed.
Defendant to voluntary surrender.

Time Commenced: 11:05 a.m.
Time Adjourned: 12:10 p.m.
Total time: 1 hr. 5 mins.

Cc: Chambers                                                   Carmen D. Soto
                                                               Senior Courtroom Deputy
